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                                   STATEMENT OF FACTS

        Your affiant, James M. Roncinske, is a Special Agent (SA) employed by the Federal
Bureau of Investigation (FBI). Your affiant is assigned to the FBI’s Tampa Division, Fort Myers
Resident Agency. Your affiant has been employed as a SA by the FBI for twenty-three years.
Immediately prior to being employed by the FBI, your affiant was employed as a police officer for
the City of Rochester, New York. Your affiant was a police officer for nine years. As a police
officer, your affiant received extensive experience in conducting investigations regarding
trespassing, assaults, threats to commit assaults, and firearms violations. Your affiant has received
training and experience in conducting investigations of violent crimes that have a Federal nexus.
Your affiant was assigned to assist and follow up with leads regarding individuals who engaged in
criminal activity in and around the U.S. Capitol on January 6, 2021. Your affiant is authorized by
law or by a Government agency to engage in or supervise the prevention, detection, or
investigation of violations of Federal criminal laws.
       The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested criminal complaint and
does not set forth all of my knowledge about this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows

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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

               Michael J. Dillon’s Involvement in the Events of January 6, 2021

       On January 28, 2021, the FBI received a tip regarding persons who entered the U.S.
Capitol. The tipster indicated that Michael J. DILLON of Fort Myers, Florida, entered the
“bldg.” The tipster provided a full address for DILLON. The tipster also indicated that another
individual had entered the “bldg.”, and provided that individual’s address.

        Based on the information provided in the tip, your affiant took additional steps to obtain
background information regarding DILLON. Your affiant checked Florida Department of
Highway Safety and Motor Vehicle (FLDHSMV) records as well as other databases available to
the FBI and found that there was a Michael John DILLON residing at the address in Fort Myers,
Florida, provided in the January tip. The FLDHSMV records also contained a photo of DILLON
and listed DILLON as being 6’5” tall.

       On February 4, 2021, your affiant and an FBI Task Force Officer went to DILLON’s
home in Fort Myers and spoke with DILLON in the backyard of his residence. DILLON
provided his full cellular telephone number ending in -1679. DILLON advised he left Florida on
January 5, 2021, and traveled to the Washington, D.C. area. DILLON advised he was at the U.S.
Capitol on January 6, 2021. DILLON stated that he did not hurt anyone and did not damage any
property. DILLON advised he went there to support President Donald Trump. DILLON
declined to provide further information.

       Your affiant also received a tip from an individual personally familiar with DILLON that
DILLON went inside the Capitol on January 6, 2021 (hereinafter “Witness-1”). Witness-1 said
that DILLON was wearing a beige camouflage hat, a black leather jacket, and blue jeans on
January 6, 2021.

        On March 10, 2021, your affiant provided a physical description of DILLON, including
his unusual height and the clothes he was wearing based on the above tip, to a U.S. Capitol
Police (USCP) SA. The USCP SA located a man believed to be DILLON on surveillance video

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from inside the U.S. Capitol and sent two still surveillance photographs from the video to your
affiant. Your affiant observed a white male wearing a beige camouflage baseball cap, a black
leather jacket, and blue jeans depicted in the surveillance photographs, who your affiant believed
to be DILLON. The two still surveillance photographs are depicted below as “Image 1” and
“Image 2”:




                                             Image 1




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                                            Image 2

        Witness-1 later identified the male wearing the beige camouflage baseball cap, black
leather jacket, and blue jeans in “Image 1” and “Image 2” above as DILLON.

        As a result of the above information, your affiant reviewed videos from various sources,
including surveillance and publicly available websites, taken at the U.S. Capitol on January 6,
2021. Based on my review, I have located DILLON on video showing him outside and inside
the U.S. Capitol building on January 6, 2021. Your affiant knows that it is DILLON in the
surveillance and publicly available video footage because, as further described above, your
affiant attempted to interview DILLON on one prior occasion and had the opportunity to observe
him during that attempted interview. Further, the picture and identifiers of DILLON in
FLDHSMV records, including his height, are consistent with the individual depicted in the
surveillance and publicly available video. The individual also appears to be wearing a beige
camouflage baseball cap and a black leather jacket. Accordingly, the individual who appears in
the CCTV and publicly available videos, the individual depicted in the FLDHSMV photograph,
and the individual I interviewed all appear to be the same person, MICHAEL DILLON.

      Your affiant identified DILLON in a publicly available video outside of the broken
window to one side of the Senate Wing Door. The video depicts other rioters climbing through




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the broken window and law enforcement on the inside of the window, and an alarm is audible.
DILLON is circled in red in the still image included below as “Image 3” from that video.




                                           Image 3

       Your affiant has also identified DILLON in surveillance footage from inside the Capitol
on January 6, 2021. Based on that surveillance footage, at approximately 2:50 p.m., DILLON




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appears to climb through the window to the right of the Senate Wing Door. A still image from
that surveillance footage is included below as “Image 4,” with DILLON circled in red.




                                           Image 4




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       A close-up of another still image from the surveillance footage as DILLON enters is
included below as “Image 5,” with DILLON circled in red:




                                           Image 5

       According to the surveillance footage, after he entered the Capitol, DILLON remained in
the crowd near the Senate Wing Door for several minutes. A close-up of still image from the




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surveillance footage showing DILLON near a USCP officer is included below as “Image 6,”
with DILLON circled in red.




                                          Image 6

        At approximately 2:55 p.m., DILLON left the Capitol building through the Senate Wing
Door. A still image from the surveillance footage is included below as “Image 7,” with DILLON
circled in red.



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                                          Image 7

        Your affiant also identified DILLON on the Capitol grounds in another publicly
available video. DILLON can be seen in the video standing on the Upper West Terrace with




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other rioters. A still image from that video is included below as “Image 8,” with Dillon circled
in red.




                                                Image 8

        Legally obtained subscriber information confirmed that the phone number ending in -
1679 that DILLON provided to your affiant is in fact subscribed to by MICHAEL DILLON.
The phone records show that it was active on January 6, 2021, during the time frame of the riot
at the U.S. Capitol.

        Additionally, pursuant to legal process, the phone records for DILLON’s -1679 number
show that the phone traveled north on January 5, 2021, from Fort Myers, Florida, and began
utilizing cellular telephone towers located in Washington, D.C., on January 6, 2021. The phone
records for DILLON’s -1679 number show that the phone was used to make an outgoing call at
2:58 p.m. EST. The call utilized a cellular tower located at 200 Independence Avenue, SW
Washington, D.C. 20024. This cellular tower is located approximately .3 miles from the U.S.
Capitol.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Michael DILLON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

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business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant submits there is also probable cause to believe that DILLON violated 40
U.S.C. § 5104(d)(2)(D), and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                      ___________________________________
                                      James M. Roncinske
                                      Special Agent
                                      Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 7th day of February 2023.                              2023.02.07
                                                                       12:29:47 -05'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE


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